        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 1 of 16




      IN THE UNITED STATE DISTRICT COURT FOR THE EASTERN
                   DISTRICT OF PENNSYLVANIA

                                                   :
 COMMONWEALTH OF PENNSYLVANIA,                     :    Case No. 2:24-cv-05823-GJP
 acting by and through Philadelphia District       :
 Attorney Lawrence S. Krasner                      :
                                                   :
              Plaintiff,                           :
                                                   :
       v.                                          :
                                                   :
 AMERICA PAC and ELON MUSK,                        :
                                                   :
              Defendant.                           :
                                                   :
                                                   :
                                                   :


              ANSWER TO EMERGENCY MOTION TO REMAND

      I. INTRODUCTION

      In his Motion to Remand, the District Attorney attempts to portray his state

court lawsuit as incorrectly removed to this Court. But removal is proper on two

independent grounds.

      First, removal is proper because a quintessential question of federal law is

inextricably intertwined in the District Attorney’s manufactured and phony

“emergency.” Indeed, in his effort to convince the state court that a preliminary

injunction must be granted on an urgent basis, Paragraph 8 of his complaint firmly

embraces federal law and jurisdiction. By tying himself to the November 5, 2024

General Election for President of the United States, and by connecting the

purported illegal conduct to be restrained to a political effort that was and is “in
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 2 of 16




connection with a federal election,” the District Attorney’s real intentions are laid

bare. The lawsuit manifests his desire to obtain a prior restraint of core political

speech, protected by federal election law and the First Amendment, because the

District Attorney personally disagrees with the speaker.

      Second, diversity of citizenship exists because the District Attorney is not

acting for the entire Commonwealth of Pennsylvania in this civil complaint, but

rather, on behalf of himself and Philadelphia. His capacity to act is a legal question

and is not subject to a factual dispute, and therefore it is proper to consider how

other courts have viewed his capacity. This Court can and should take judicial

notice of how the District Attorney himself has characterized his standing and

capacity to act in Unfair Trade Practice Act matters (precisely the claim in this

case), in legal briefings filed in other proceedings. The District Attorney has too

frequently, and too publicly, argued that he does not represent the Commonwealth

and only represents Philadelphia to possibly walk that argument back now.

      The District Attorney wants this litigation to be a rushed stage play, and the

attendant spectacle and attention that go with it. But this lawsuit belongs in federal

court, where it can be decided soberly and in a deliberate fashion. The District

Attorney’s motion to remand should be denied.

      II. PROCEDURAL HISTORY AND ALLEGATIONS

      On October 28, 2024, Plaintiff Larry Krasner, in his official capacity as the

District Attorney of Philadelphia (DA Krasner), commenced this matter against

Defendants America PAC and Elon Musk in the Court of Common Pleas of




                                           2
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 3 of 16




Philadelphia County, First Judicial District, Trial Division. (Case No. 03509). On

October 30, 2024, Defendants removed this action to this Court pursuant to

Article III, Section 2 of the United States Constitution and 28 U.S.C. §§ 1331, 1332,

1441, and 1446. As explained in Defendants’ Notice of Removal, jurisdiction in this

Court is appropriate for two reasons: first, as plainly stated in the Complaint and

each of his subsequent filings, DA Krasner’s overriding objective is to sanction

Defendants for expenditures and speech related to a federal election, which

implicates substantial questions of federal law that are inherently within the

province of the federal judiciary. See Grable & Sons Metal Products, Inc. v. Darue

Engineering & Manufacturing, 545 U.S. 308 (2005); second, because Defendants are

not citizens of Pennsylvania and the amount in controversy exceeds $75,000,

diversity jurisdiction was likewise proper under 28 U.S.C. § 1332.

      DA Krasner responded on October 31, 2024, by filing with this Court an

Emergency Motion to Remand, disputing federal court jurisdiction and requesting

an immediate remand.

      III.   ARGUMENT

             A. DA Krasner’s request for emergency remand underscores
                the significant federal question implicated.

       By requesting emergency remand, Plaintiff all but concedes federal question

jurisdiction over this matter. In his own words, the purported exigency is “stopping

illegal activity that harms Philadelphians and undermines their free, fair, and final

election[.]” Thus, to the extent an emergency exists here, it exists solely because the




                                          3
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 4 of 16




Complaint raises substantial questions of federal law concerning Defendants’

federally protected campaign expenditures and political speech.

      Indeed, aside from the activities of a federally-regulated political action

committee and the upcoming federal election for President of the United States,

there is no other basis to argue an emergency exists. The issues raised in Defendants’

removal papers, and the arguments made in opposition, present difficult and weighty

issues of federalism, and touch on areas the federal government exclusively

regulates—namely, political speech and spending in federal elections. This Court

should not needlessly expedite disposition at the expense of full and fair consideration

of these important issues.

             B. Because DA Krasner’s claims raise substantial federal
                questions that are best resolved in a federal forum, remand
                is inappropriate.

      As the Defendants explained in their Notice of Removal, because DA

Krasner’s state-law claims necessarily involve substantial questions of federal law

jurisdiction is appropriate under Grable. Reduced to its essence, Grable reiterates

the longstanding principle that, even where the cause of action may be predicated

on state law, federal jurisdiction is appropriate where “a state-law claim necessarily

raise[s] a stated federal issue, actually disputed and substantial, which a federal

forum may entertain without disturbing any congressionally approved balance of

federal and state judicial responsibilities.” Grable, 545 U.S. at 314. Under such

circumstances, the Grable Court relayed, defendants may avail themselves of




                                           4
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 5 of 16




federal jurisdiction because of the “serious federal interest[s] in claiming the

advantages thought to be inherent in a federal forum.” Id. at 313. 1

      Although this species of federal-question jurisdiction has taken many forms,

as the Eighth Circuit of Appeals has explained, “[t]he best example is Grable itself.”

Minnesota by Ellison v. Am. Petroleum Inst., 63 F4th. 703, 711 (8th Cir. 2023). To

that end, a brief discussion of Grable’s background is appropriate. In Grable, the

IRS (a federal agency) seized Grable’s property to satisfy a tax lien, after which,

Grable filed a state-law quiet title action, claiming that the IRS’s failure to give

personal notice of the seizure rendered the seizure inappropriate. See Grable, 545

U.S. at 310. Although the state-law quiet title action, standing on its own, had little

to do with federal law, the Supreme Court held that “the national interest in

providing a federal forum for federal tax litigation is sufficiently substantial to

support the exercise of federal-question jurisdiction over the disputed issue on

removal, which would not distort any division of labor between the state and federal


      1 Notably, although DA Krasner attempts to recast Grable as providing for

“an exceedingly narrow basis for removal[,]” the authorities are to the contrary.
Holmes Grp., Inc. v. Vornado Air Circulation Sys., Inc., 535 U.S. 826, 830 (2022);
Gunn v. Minton, 568 U.S. 251, 260 (2013) (“The Government’s direct interest in the
availability of a federal forum to vindicate its own administrative action made the
question an important issue of federal law that sensibly belonged in a federal
court.” (alterations and quotations omitted) (quoting Grable)); Merrell Dow Parms.,
Inc. v. Thompson, 478 U.S. 804, 810 (1986); Franchise Tax Bd. v. Const. Laborers
Vacation Trust, 463 U.S. 1, 9-10 (1983); Bennett v. Southwest Airlines Co., 484 F.3d
907 (7th Cir. 2007) (discussing Grable in the context of “aviation accidents because
of the dominant role that federal law plays in air transport”).
        Indeed, this doctrine of federal question jurisdiction is based on nearly a
century of precedent. See Smith v. Kansas City Title & Trust Co., 255 U.S. 180, 199
(1921) (recognizing that federal court jurisdiction is appropriate “where it appears
from the bill or statement of the plaintiff that the right to relief depends upon the
construction or application of the Constitution or laws of the United States”)

                                           5
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 6 of 16




courts, provided or assumed by Congress.” Grable, 5454 U.S. at 310. Notably, in the

years that have followed, the “national interest” aspect has emerged as one of the

focal points of Grable’s jurisdictional analysis. See Gunn, supra.

      Against this backdrop, DA Krasner’s request for a remand cannot withstand

scrutiny. As explained in Defendant’s Notice of Removal, while ostensibly raising

state law causes of action (namely public nuisance and consumer protection), DA

Krasner’s claims, as evident on the face of the Complaint, turn principally on the

allegation that Defendants are somehow unlawfully interfering with a federal

election. This central theme recurs throughout the Complaint. For example,

Paragraph 8 of the Complaint alleges that “America PAC and Musk must be

stopped, immediately, before the upcoming Presidential Election on November 5.

That is because America PAC and Musk hatched their illegal lottery scheme to

influence voters in that election.” Indeed, although the Complaint insists that it

does not concern federal election laws in Paragraph 9, that sentiment is

immediately undermined by Paragraph 10, which states that, “[i]f not enjoined, [the

Defendants] lottery scheme will irreparably harm Philadelphians – and others in

Pennsylvania[] – and tarnish the public’s right to a free and fair election.”

(Emphasis added). Once again, in Paragraphs 18 and 19, the Complaint avers that

America PAC “is spending money in Pennsylvania targeted to influence

Pennsylvania voters” and Elon Musk “has directed that substantial sums be spent

in Philadelphia to influence Pennsylvania voters.” In section (c) of Paragraph 86,

the Plaintiff sums up the true intent of this politically motivated lawsuit:




                                           6
          Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 7 of 16




        The lottery interferes with a public right to vote without undue
        influence and others injects illegal activity into the integrity of the
        electoral process. Pennsylvania voters, including voters in
        Philadelphia, have the right to public peace, public comfort, and public
        convenience to engage in the electoral process without interference
        from outside third parties offering the chance of a reward in exchange
        for providing personal information.

Plaintiffs then go further, arguing that Defendants’ activities “further

encourage[] pervasive conduct by other parties seeking to undermine the

integrity of Pennsylvania’s electoral process[,]” Compl. at ¶ 87, and

“Defendants knew, or should have known, that their promotion and operation

of an illegal lottery not authorized by state law would create a public

nuisance by injecting instability into Pennsylvania’s electoral process.” Id. at

¶ 91.

        Additionally, in the first subpart of the Complaint’s factual allegations (which

itself is titled “America PAC and Musk Target Pennsylvania to Influence

Pennsylvania Voters”) the Complaint provides a lengthy rendition of Defendants’

campaign expenditures—all of which, notably, are legally protected expenditures

and political speech. In this regard, Paragraph 21, for example, states that “[a]s of

September 30, 2024, America PAC reported having spent $133,841,660 on

independent expenditures to support or oppose 2024 federal candidates.”

Paragraph 22 then continues, “[i]n the daily reports filed since October 21, 2024,

America PAC has disclosed millions of dollars in additional spending on political

communications.” Next, Paragraph 23 avers that, “[o]n October 24, 2024, the New

York Times reported, ‘Mr. Musk, the leader of Space X, Tesla and X, has already

poured $75 million into a pro-Trump super PAC called America PAC,’ and is


                                            7
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 8 of 16




accelerating his spending in this final stretch before Election Day.” And

Paragraph 25 also specifically discusses Defendants’ use of the social media

platform X, owned by Defendant Elon Musk, on which Defendants purportedly have

“spent tens of thousands of dollars [in] advertising . . . targeting swing state voters,

alongside Mr. Musk’s own repeated endorsements of Mr. Trump on X.” ¶ 25.

      In short, the sum and substance of DA Krasner’s material allegations

demonstrates that the Complaint, in truth, has little to do with state-law claims of

nuisance and consumer protection. Rather, although disguised as state law claims,

the Complaint’s focus is to prevent Defendants’ purported “interference” with the

forthcoming federal Presidential Election by any means, and to do so—in the

Complaint’s own words—“immediately[] before the upcoming Presidential Election

on November 5.” Compl. at ¶ 8.

      The Complaint also narrowed its focus to two of the Defendants’

election-related activities with which DA Krasner disagrees—independent

expenditures to influence campaigns for federal office and the core political speech

via petition gathering—both of which raise significant questions of federal law that

are within the exclusive province of this Court.

      Indeed, taking DA Krasner at his own word, that much is abundantly clear

from the face of the Complaint: Plaintiff is seeking emergency relief which, in and of

itself, would require judicial intervention into the progress of an ongoing federal

election. This, however, a state court cannot do. The issue of whether a federal

political action committee like America PAC—which is focused on making




                                           8
             Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 9 of 16




independent expenditures to influence campaigns for federal office, not state or local

offices—is exclusively governed by federal law and the First Amendment to the

United States Constitution. Indeed, Congress has clearly vested the Federal

Election Commission with the exclusive authority to regulate federal elections, see

52 U.S.C. § 30143(a) (FECA preempts state laws “with respect to election to Federal

office.”).

        As shown, Plaintiff makes the case that (in Paragraph 21) that 100% of the

independent expenditures listed in Exhibit 2 were federally regulated

disbursements subject to the Federal Election Campaign Act of 1971, as amended,

and its implementing regulations. However, there is no question that America

PAC’s independent expenditures to influence campaigns for federal office and core

political speech are entitled to First Amendment protections. Thus, the allegations

in the Complaint necessarily raise federal questions that are substantial and

disputed—i.e., the legality of the Defendants’ campaign expenditures and political

speech.

        Further, because this matter involves claims that are inherently federal in

nature, far from undermining the “congressionally approved balance of federal and

state judicial responsibilities[,]” removal would restore the balance. Grable, 545

U.S. at 314. Indeed, allegations of interference in a federal election for President of

the United States, as explained above, necessarily are matters for the federal

judiciary.




                                           9
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 10 of 16




       And on that point, most important to this matter is that that there is

undoubtedly a significant “national interest” in providing a federal forum for

disputes concerning the integrity of an election for the President of the United

States of America. The elaborate contours of FECA alone demonstrate this national

interest, and the concerns or risks pursuant to FECA and the First Amendment are

at their zenith in an election for the President of the United States of America. As

such, the concerns inherent in this case certainly satisfy the requirements of

Grable, and federal court jurisdiction, therefore, is proper.2

      In his emergency motion, DA Krasner alleges that “[f]ederal question

jurisdiction cannot possibly exist over this dispute because: “(1) there are no federal

law issues to be determined; instead, this matter involves two state-law claims

concerning state-law issues; (2) the Complaint expressly disclaims that the matter

concerns any federal law issues; and (3) Defendants grossly misread Grable.”

Remand Mot. at 7. Respectfully, these claims make no sense.

      As to the first two allegations, DA Krasner perplexingly misunderstands that

the entire purpose of the Grable jurisdiction standard was developed for

circumstances where strictly state-law claims, nonetheless, raise substantial

issues of federal law. Thus, the fact that the Complaint “involves two state-law

claims concerning state-law issues” has exactly zero bearing on whether Grable



      2 If there was any doubt that to the Complaint’s true intent, moreover, a

letter from District Attorney’s counsel to the Honorable Angelo J. Foglietta
presiding over the matter in the Court of Common Pleas of Philadelphia County
states that “[t]his is an election related matter and the Presidential Election is only
a week away.”

                                           10
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 11 of 16




confers federal jurisdiction. Further, in attempting to mask a federal issue behind

some articulation of a state-law claim, a plaintiff’s complaint inevitably will include

some assertion—as DA Krasner included in Paragraph 9 of the Complaint—that

there are “no federal issues involved” in the claims raised. But simply “disclaiming”

that an action does not involve federal law does not make it so. Again, the Grable

standard was established for precisely this purpose. And, as simply one example of

DA Krasner’s contradictory position, Paragraphs 8 and 10 of the Complaint that

surround the disclaimer in Paragraph 9 prove that disclaimer to be baseless. See,

supra pg. 6. Rather, as explained above, the Complaint is rife with references to

what DA Krasner considers to be election interference. As Grable and other

relevant precedent indicate, however, such claims are necessarily exclusive to the

federal judiciary and are not meant to be fought out in state court via faux claims of

public nuisance and consumer protection.

      Thus, because the claims at issue in this case can be characterized as none

other than federal election interference allegations masked behind disingenuous

state-law nuisance and consumer protection allegations, federal jurisdiction is

proper under Grable. This is particularly so where DA Krasner’s claims threaten

the federal government’s national interest in the management of a federal election

for President of the United States of America.




                                          11
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 12 of 16




             C. Even if this Court were to conclude that the federal
                question is not sufficiently significant, remand is
                nevertheless inappropriate under settled principles of
                diversity jurisdiction.

      DA Krasner argues that diversity jurisdiction does not exist because: (1) he is

not a “citizen” of the Commonwealth under Moor v. Cty. of Alameda, 411 U.S. 693

(1973); and (2) the amount in controversy does not exceed $75,000. But neither

argument has merit.

      First, as explained in Defendants’ removal notice, mere months ago, the

Commonwealth Court drew a clear distinction between the divergent roles of a

district attorney in criminal and civil matters. Commonwealth by and through

Krasner v. Attorney General, 309 A.3d 265, 276 (Pa. Cmwlth. 2024). As Krasner

makes clear, in civil matters, a district attorney’s authority does not act on behalf of

the state, but rather, a specific county. See, e.g. id. at 277-78 (“Although district

attorneys may file suit in the name of the Commonwealth, their enforcement

powers extend only to such matters ‘which arise in the county for which the district

attorney is elected.’” (quoting 16 P.S. § 1402(a)). Unable to squarely address this

central point, DA Krasner attempts to draw a number of meaningless distinctions

between that decision and the present matter—namely, that Krasner did not decide

whether a district attorney is a “citizen” for purposes of removal and diversity

jurisdiction. That is undoubtedly true. And it is also irrelevant. What Krasner did

decide—and what is fatal to DA Krasner’s reliance on Moor—is that a district

attorney does not acts as the representative of his constituents, rather than the




                                           12
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 13 of 16




Commonwealth as a whole, in civil matters. Try as he might, DA Krasner cannot

escape the lynchpin of this holding.

       Indeed, this Court need not take Defendants word for it. In his brief to the

Commonwealth Court in the Krasner matter, DA Krasner—through the very same

counsel representing him in this matter—helpfully briefed the issue and agreed

that, in UTPCPL claims, the Philadelphia District Attorney is not the

Commonwealth. That point is made throughout his submission, but to take just one

example, DA Krasner argued:

       The District Attorney[‘s] UTPCPL claims are brought by the District
       Attorney[] to protect [his] respective electorate[]. Contrary to
       Respondents’ assumption, those claims neither belong to the
       Commonwealth, nor are brought on behalf of the Commonwealth or by
       the Commonwealth, simply by virtue of the fact that they are filed ‘in
       the name of the Commonwealth.’

Br. of Appellant, Commonwealth by and through Krasner v. Attorney General,

2022 WL 22575839, at *11 (Pa. Cmwlth) (Appellate Brief). Driving the point

home, DA Krasner further argued: “[t]he mere fact that the District

Attorneys’ actions were brought ‘in the name of the Commonwealth’, as

required by the UTPCPL, does not render those actions ones on behalf of the

Commonwealth.” Id. at *1. “Rather, the District Attorney[], as plaintiff[],

brought civil law enforcement actions ‘in the name of the Commonwealth,’ as

[Krasner is] authorized and required to do by the UTPCPL, to protect the

people in [his] respective jurisdiction[] from Defendants’ unfair trade

practices. Id. at *2.




                                          13
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 14 of 16




      The fact that the plaintiff here is not “the Commonwealth” is further

apparent from the Complaint itself, which refers to the District Attorney—

and not the Commonwealth—no less than twelve times, see e.g. Compl. ¶¶ 6-

7, 10, 12-13, 15-17, 74, 92-93, and 113. And again, the sworn verification is

signed by Larry Krasner, not in his purported capacity as representing the

Commonwealth of Pennsylvania, but rather, as the “District Attorney of

Philadelphia.” In short, because the plaintiff here is not the Commonwealth,

DA Krasner is a citizen for purposes of diversity jurisdiction.

      Second, DA Krasner’s assertion that the amount in controversy does

not exceed $75,000 is meritless. In determining whether the threshold for

invoking diversity jurisdiction has been satisfied, federal courts do not look to

whether the Complaint has expressly demanded over $75,000, but rather,

whether a defendant’s liability could exceed that amount if the claims are

successful. Under the UTCPCL, recovery of $1,000 per violation is permitted

by statute and, thus, DA Krasner’s failure to expressly request such an

award is immaterial. Indeed, that is particularly true since the Complaint—

contrary to DA Krasner’s representation to this Court—expressly leaves open

the possibility that statutory damages would be assessed against Defendants

if the UTPCPL claim were to succeed. See Count II, Wherefore Cl.

(requesting “such other and further relief as the Court deems just and

proper”).




                                          14
        Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 15 of 16




      IV.CONCLUSION

      In short, for the reasons set forth above, this Court, has jurisdiction over

Plaintiff’s claims by virtue of Article III, Section 2 of the United States Constitution

and 28 U.S.C. § 1331; thus, this action is properly removable to this Court. Finally,

the Defendants will give written notice of the filing of this Notice to the adverse

parties as required by 28 U.S.C. § 1446(d), and a copy of this notice will be filed

with the Clerk of the Court of Common Pleas of Philadelphia County, as required by

28 U.S.C. § 1446(d).

      WHEREFORE, Defendants respectfully request that the above-captioned

action be removed from the Court of Common Pleas of Philadelphia County, to the

United States District Court for the Eastern District of Pennsylvania.



                                                Respectfully submitted,

Dated: November 1, 2024
                                             /s/ Matthew H. Haverstick
Chris Gober (pro hac vice pending)           Matthew H. Haverstick (No.85072)
Andy Taylor (pro hac vice pending)           Shohin H. Vance (No. 323551)
THE GOBER GROUP PLLC                         KLEINBARD LLC
14425 Falcon Head Blvd. E-100                Three Logan Square
Austin, TX 78738                             1717 Arch Street, 5th Floor
Ph: 512-354-1787                             Philadelphia, PA 19103
Eml: cgober@vantage.network                  Ph: 215-568-2000
ataylor@vantage.network                      Fax: 215-568-0140
                                             Eml: mahverstick@kleinbard.com
                                                  svance@kleinbard.com


                                             Attorneys for Defendants




                                           15
  Case 2:24-cv-05823-GJP Document 7 Filed 11/01/24 Page 16 of 16




                          CERTIFICATE OF SERVICE

        I, Matthew H. Haverstick, certify that on November 1, 2024, a true and correct

 copy of 'HIHQGDQWV
                 Answer
                      to Plaintiff's Emergency Motion to Remand was filed 

 electronically and is available for viewing and downloading from the ECF system.



Dated: November 1, 2024                      _/s/ Matthew H. Haverstick__________
                                             Matthew H. Haverstick
